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                                         United States District Court
                                   STATE AND DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA                                                   GOVERNMENT=S EXHIBIT LIST
          v.
MICHAEL HARI                                                               Criminal No. 18-cr-150 (1) (DWF)
PRESIDING JUDGE                                     PLAINTIFF'S ATTORNEY                DEFENDANT'S ATTORNEY


Donovan W. Frank                                    John Docherty, AUSA                 James S. Becker, Esq.
                                                    Allison K. Ethen, AUSA              Shannon R. Elkins, Esq.
                                                    Timothy C. Rank, AUSA
TRIAL DATE(S)                                       COURT REPORTER                      COURTROOM DEPUTY

November 2 – December 9, 2020                       Lynne Krenz                         Lori Sampson
 PLF    DEF          DATE
                              MARKED    ADMITTED
 NO     NO          OFFERED                                                DESCRIPTION OF EXHIBITS


                                                   Video from Dar Al Farooq security cameras

1                                      11/09       Footage from Dar al Farooq internal surveillance video

2                                      11/09       Footage from Dar al Farooq internal surveillance video -Camera
                                                   12, main door

3                                      11/10       Footage from Dar al Farooq internal surveillance video

4                                      11/09       Footage from Camera 12, main door

5                                      11/09       Photo of women praying outside of Dar Al-Farooq

6                                      11/09       Photo of men praying outside of Dar Al-Farooq
                                                   Evidence collected at Dar Al-Farooq Mosque on August 5,
                                                   2017

7                                      11/09       Aerial diagram of Dar Al-Farooq

8                                      11/09       Photo of front doors of Dar Al-Farooq

9                                      11/09       Photo of end cap and debris on floor in Imam's office

10                                     11/09       Photo of Dar Al-Farooq hallway with water

11                                     11/09       Photo of prayer room from hallway of Dar Al-Farooq

12                                     11/09       Photo of prayer room at Dar Al-Farooq

13                                     11/09       Photo from hallway outside the Imam's office at Dar Al-Farooq

14                                     11/09       Photo of doorway to Imam's office at Dar Al-Farooq

15                                     11/09       Overview of Imam's office showing window damage and debris



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16                               11/09       Photo of window damage and floor in the Imam's office at Dar Al-
                                             Farooq

17                               11/09       Photo of ceiling damage and debris in the Imam's office at Dar Al-
                                             Farooq after carpet section removed

18                               11/09       Photo of floor damage and debris inside the Imam's office at Dar
                                             Al-Farooq

19                               11/09       Close-up of floor damage inside the Imam's office at Dar Al-
                                             Farooq

20                               11/09       Close-up photo of floor damage from inside the Imam's office at
                                             Dar Al-Farooq

21                               11/09       Photo of debris and floor damage from inside the Imam's office at
                                             Dar Al-Farooq

22                               11/09       Close-up photo of floor damage and debris from inside the Imam's
                                             office at Dar Al-Farooq

23                               11/09       Close-up photo of debris and window damage in the Imam's office
                                             at Dar Al-Farooq.

24                               11/09       Photo of end cap from inside the Imam's office at Dar Al-Farooq
                                             (side view)

25                               11/09       Close-up photo of end cap from inside the Imam's office at Dar Al-
                                             Farooq (top view)

26                               11/09       Photo of ceiling damage inside Imam's office at Dar Al-Farooq

27                               11/09       Photo of ceiling damage inside Imam's office at Dar Al-Farooq

28                               11/09       Photo of ceiling damage and missing ceiling tile inside Imam's
                                             office at Dar Al-Farooq

29                               11/09       Photo taken from outside looking through damaged window into
                                             the Imam's office at Dar Al-Farooq

30                               11/09       Close-up photo of Imam's office window sill and debris at Dar Al-
                                             Farooq

31                               11/09       Photo taken from outside looking into Imam's office showing
                                             damage and debris

32                               11/09       Photo of damaged chair from Imam's office at Dar Al-Farooq

33                               11/09       Photo of damage to desk in Imam's office at Dar Al-Farooq

34                               11/09       Close-up Photo showing damage to desk in Imam's office at Dar
                                             Al-Farooq

35                               11/09       Photo showing shrapnel on desk in Imam's office at Dar Al-Farooq

36                               11/09       Photo showing burn marks on grass outside of Dar Al-Farooq

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37                               11/09       Photo showing size of burn marks on grass outside of Dar Al-
                                             Farooq

38                               11/10       Exterior photos from Dar Al Farooq

39
40                               11/10       Scene sketches of Imam's office and exterior of Dar Al-Farooq

41                               11/10       Brown packing tape found in parking lot of Dar Al Farooq

42                               11/10       Silver duct tape found in parking lot of Dar Al Farooq

43                               11/10       25 pieces of PVC shrapnel recovered from Imam's office at Dar
                                             Al-Farooq

44                               11/10       33 pieces of PVC shrapnel recovered from Imam's office at Dar
                                             Al-Farooq

45                               11/10       63 pieces of PVC shrapnel recovered from Imam's office at Dar
                                             Al-Farooq

46                               11/10       65 pieces of PVC shrapnel including fragmented PVC end cap
                                             with priming hole recovered from Imam's office at Dar Al-Farooq

47                               11/10       PVC end cap with shard from broken PVC pipe recovered from
                                             Imam's office at Dar Al-Farooq

48                               11/10       Window blind with burnt end recovered from Imam's office at Dar
                                             Al-Farooq

49                               11/10       Melted plastic container cut from carpet recovered from Imam's
                                             office at Dar Al-Farooq

50                               11/10       2 pieces of PVC shrapnel recovered from exterior of Dar Al-
                                             Farooq

51                               11/10       2 pieces of PVC shrapnel recovered from exterior of Dar Al-
                                             Farooq

52                               11/10       Carpet sample recovered from Imam's office at Dar Al-Farooq

53                               11/10       Sample of carpet pad with liquid recovered from floor recovered
                                             from Imam's office at Dar Al-Farooq
                                             John O'Neill property, 104 N. Main Road, Clarence, IL

54                               12/2        February 19, 2018 Email from Randy Strode to Barbara Robbins
                                             forwarding tip regarding John O'Neill

55                               11/30       Photos of items recovered from John O'Neill property




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                                             Search of Michael Hari's parents' residence, 112 North 1900 E
                                             Road, Paxton IL

56                               11/10       Map of Illinois and surrounding states

57                               11/10       Illinois map with close up of Paxton, Clarence, and Rankin IL

58
59                               11/12       Outside view of Michael Hari's parents' residence 112 North 1900
                                             E Road, Paxton, IL

60                               11/12       Photo of outside view of Hari's parents' residence with garage

61                               11/12       Photo of Buick LeSabre parked outside of Hari's parents' residence

62                               11/12       Photo of backpack in back seat of Buick LeSabre

63                               11/12       Photo of White Rabbit T-shirt from inside Buick LeSabre

64                               11/12       Close-up photo of backpack after removal from Buick

65                               11/12       Photo of Sonim cellular telephone after removal from backpack

66                               11/12       Photo of balaclava after removal from backpack

67                               11/12       Photo of envelope with address and return address after removal
                                             from backpack

68                               11/12       Photo of letter to Allene Hari following removal from envelope

69                               11/12       Photo of second page of letter to Allene Hari following removal
                                             from envelope

70                               11/12       Photo of note found on dashboard of Buick

71                               11/12       Photo taken through door into garage

72                               11/12       Photo of Anarchists Handbook in garage

73                               11/12       Photo of interior of garage showing metal shavings on floor

74                               11/12       Photo of bathroom showing Dell laptop computer in sink

75                               11/12       Photo of Dell laptop computer in bathroom of Hari's parents'
                                             residence

76                               11/12       Photo of Palmetto State Armory packing label

77                               11/12       Photo of green fuse on floor of closet inside Michael Hari's room at
                                             Hari's parents' residence

78                               11/12       Close-up photo of green fuse and flechettes

79                               11/12       Photo of mail addressed to Michael Hari in Hari's parents'
                                             residence

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80                               11/12       Photo of mail addressed to Michael Hari in Hari's parents'
                                             residence

81                               11/12       Overview sketch of 112 North 1900 E Road, Paxton, IL

82                               11/12       Buick LeSabre Scene Sketch

83                               11/12       112 N 1900 E Road Paxton, IL scene sketch

84                               11/12       Anarchist's Handbook found in Hari's parents' garage

85                               11/12       Pages from Anarchist's Handbook

86                               11/12       Black Dell laptop computer found in Hari's parents' residence

87                               11/12       Sonim cellular phone found in backpack inside Buick

88
89
90
                                             Search of Hari's office 100 South Main Road, Clarence IL

91                               11/10       Map of Clarence, IL

92                               11/10       Photos of outside of Hari's office, 100 South Main Rd, Clarence,
                                             IL showing Equicert and CRSS, Inc. signs

93                               11/10       Photo of vault door inside office with sign reading "This vault is
                                             rented by Joseph Morris"

94                               11/10       Photo of outside of office showing Equicert and CRSS, Inc. signs

95                               11/10       Photos from office room A during search warrant

96                               11/10       Photo of shelving from office room A with grocery items

97                               11/10       Photo from office showing rooms D, F, G, with open vault door

98                               11/10       Photos of mattress, cooler, and kennel inside room F of office
                                             during search warrant

99                               11/10       Photo from inside of office vault with blue tubs containing tactical
                                             gear and equipment

100                              11/10       Close-up photo of blue tubs containing tactical gear

101                              11/10       Photo of black shelving containing tactical gear

102                              11/10       Photo of blue bins containing tactical gear

103                              11/10       Photo of Exhibit 133, olive drab clothing with Captain's insignia,
                                             Sergeant’s insignia, and black gloves taken from vault, room G of
                                             office

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104                              11/10      Photos of Exhibit 135, tactical vest bearing "Ain't No Fun When
                                            The Rabbit Got The Gun" patch and "Don't Tread on Me" patch
                                            containing magazines taken from vault, room G of office

105                              11/10      Photo of roll top desk and sledge hammer from inside room D of
                                            office

106                              11/10      Photo of two .223 loaded magazines taken from the vault, room G
                                            of office

107                              11/10      Photo of Exhibit 136, invoice from FTF Industries Inc. to Michael
                                            Hari showing billing address as 100 S Main St Clarence, IL and
                                            Shipping address as 209 W 1st North Clarence, IL taken from the
                                            vault, room G of office

108                              11/10      Photo of Exhibit 137, black tactical vest bearing "Don't Tread On
                                            Me" patch and "Ain't No Fun When The Rabbit Got The Gun"
                                            patch containing bullet proof panels, from the vault, room G of
                                            office

109                              11/10      Photo of Exhibit 138, olive drab tactical vest bearing "Don't Tread
                                            On Me" patch, "Ain't No Fun When The Rabbit Got The Gun"
                                            patch, and "Infidel" patch from the vault, room G of office

110                              11/10      Photo of bull whip, handcuffs, handcuff key, knives, two Kevlar
                                            helmets, and a belt

111                              11/10      Photos of Exhibit 139, olive drab tactical belt with magazine pouch
                                            and magazines removed from pouch from the vault, room G of
                                            office

112                              11/10      Photo of bandolier containing approximately 47 live shotgun shells

113                              11/10      Photo of Exhibit 134, olive drab hat and clothing containing
                                            Corporal insignia, tan helmet with clear goggles taken from the
                                            vault, room G of office

114                              11/10      Photo of box containing several copies of book entitled "The
                                            White Rabbit Handbook"

115                              11/10      Photo of 5 AR-15 magazines from shelf inside vault, room G of
                                            office

116                              11/10      Photo of box containing .223 ammunition from inside vault, room
                                            G of office

117                              11/10      Photo of Exhibit 144, large black Faraday bag with "Mission
                                            Darkness" label from inside vault, room G of office

118                              11/10      Photo of Exhibit 145, small black Faraday bag with “Mission
                                            Darkness” label from room D of office

119                              11/10      Photo of Exhibit 146, black balaclava from room D of office



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120                              11/10      Close-up photo of roll top desk in room D of office, with tub list,
                                            Exhibit 143

121                              11/10      Scene sketch of Office 100 South Main Road, Clarence, IL.

122                              11/10      Lease between Michael and Trevor Pool for 100 S Main, Clarence,
                                            IL property

123                              11/10      Photo of Exhibit 140, olive drab jacket, hat, White Rabbit patch,
                                            and helmet from the vault, room G of office

124                              11/10      Photo of Exhibit 141, radio transmission equipment; scanner and
                                            cell phone signal jammer from the vault, room G of office

125                              11/10      Photo of Exhibit 142, a bag of White Rabbit patches from vault,
                                            room G of office

126                              11/10      Photo of Exhibit 147, coil of magnesium strip from room D of
                                            office

127                              11/10      Photo of Exhibit 148, SD card containing security camera footage
                                            from camera located outside of office

128                              11/10      Photo of two PVC pipes located in room D of office

129                              11/10      Photo side view of Office building

130                              11/10      Photo of construction material and gas can in room B of office

131                              11/10      Photo of basement, room C of office

132                              11/10      Photo of closet, room E of office

133                              11/10      Plastic tub containing olive drab clothing with Captain's insignia,
                                            Sergeant’s insignia, and black gloves depicted in Exhibit 103 taken
                                            from vault, room G of office

134                              11/10      Plastic tub containing olive drab hat and clothing containing
                                            Corporal insignia, tan helmet with clear goggles taken from the
                                            vault, room G of office, depicted in Exhibit 113

135                              11/10      Olive drab tactical vest bearing "Ain't No Fun When The Rabbit
                                            Got The Gun" patch and "Don't Tread on Me" patch containing
                                            magazines taken from vault, room G of office, depicted in Exhibit
                                            104

136                              11/10      Invoice from FTF Industries Inc. to Michael Hari showing billing
                                            address as 100 S Main St Clarence, IL and Shipping address as 209
                                            W 1st North Clarence, IL taken from the vault, room G of office,
                                            depicted in Exhibit 107

137                              11/10      Back tactical vest bearing "Don't Tread On Me" patch and "Ain't
                                            No Fun When The Rabbit Got The Gun" patch containing bullet
                                            proof panels, from the vault, room G of office, depicted in Exhibit
                                            108

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138                              11/10       Olive drab tactical vest bearing "Don't Tread On Me" patch, "Ain't
                                             No Fun When The Rabbit Got The Gun" patch, and "Infidel" patch
                                             from the vault, room G of office, depicted in Exhibit 109

139                              11/10       Olive drab tactical belt with magazine pouch and (magazines
                                             removed from pouch) from the vault, room G of office, depicted in
                                             Exhibit 111

140                              11/10       Olive drab jacket, hat, White Rabbit patch, and helmet from the
                                             vault, room G of office, depicted in Exhibit 123

141                              11/10       Radio transmission equipment; scanner and cell phone signal
                                             jammer from the vault, room G of office, depicted in Exhibit 124

142                              11/10       Bag of White Rabbit patches from vault, room G of office,
                                             depicted in Exhibit 125

143                              11/10       Tub Inventory list taken from roll top desk in room D of office,
                                             depicted in Exhibit 120

144                              11/10       Large black Faraday Bag with "Mission Darkness" label from
                                             inside vault, room G of office, depicted in Exhibit 117

145                              11/10       Small black Faraday bag with "Mission Darkness" label from room
                                             D of office, depicted in Exhibit 118

146                              11/10       Black balaclava from room D of office, depicted in Exhibit 119

147                              11/10       Coil of Magnesium strip from room D of office, depicted in
                                             Exhibit 126

148                              11/10       SD cards containing security camera footage from camera located
                                             outside of office, depicted in Exhibit 127

149                              12/02       PVC Pipe recovered from room D of Office, depicted in Exhibit
                                             128

150
                                             Search of Herbert McWhorter residence 211 West 1st Street
                                             South, Clarence, IL

151                              11/10       Photo of camouflage bag

152                              11/10       Photo of camouflage bag with various weapons inside

153                              11/10       Photo of two shotguns recovered from the residence of Herbert
                                             McWhorter

154                              11/10       Photo of front of olive drab tactical vest with "Ain't No Fun When
                                             the Rabbit Got the Gun" patch and "Don't Tread on Me" patch
                                             recovered from the residence of Herbert McWhorter




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155                              11/10       Photo of front of olive drab tactical vest with "Ain't No Fun When
                                             the Rabbit Got the Gun" patch and "Don't Tread on Me" patch with
                                             magazines removed recovered from the residence of Herbert
                                             McWhorter

156                              11/10       Photo of back of olive drab tactical vest with "Pork Eating
                                             Crusader" patch recovered from the residence of Herbert
                                             McWhorter

157                              11/10       Photo of front of ballistic panel located in the olive drab tactical
                                             vest recovered from the residence of Herbert McWhorter

158                              11/10       Photo of back of ballistic panel located in the olive drab tactical
                                             vest recovered from the residence of Herbert McWhorter

159                              11/10       Photo of M16 style platform rifle (standard barrel length), no serial
                                             number, seized from Herbert McWhorter residence

160                              11/10       Photo of black shotgun seized from Herbert McWhorter residence

161                              11/10       Photo of .223 caliber AR style platform rifle (short barrel) no serial
                                             number recovered from Herbert McWhorter residence

162                              11/10       Photo of .223/5.56 AR style platform rifle (mini barrel) no serial
                                             number seized from Herbert McWhorter residence

163                              11/10       Photo of .223 / 5.56 caliber AR style platform rifle (medium
                                             barrel) no serial number seized from Herbert McWhorter residence

164                              11/10       Photo of Palmetto State Armory buttstock on .223 / 5.56 caliber
                                             AR style platform rifle (medium barrel) no serial number seized
                                             from Herbert McWhorter residence

165                              11/10       Photo of Sight Mark Z series from .223 / 5.56 caliber AR style
                                             platform rifle (medium barrel), no serial number seized from
                                             Herbert McWhorter residence

166                              11/10       Top view of Sight Mark Z series from .223 / 5.56 caliber AR style
                                             platform rifle (medium barrel), no serial number seized from
                                             Herbert McWhorter residence

167                              11/10       Photo of black shotgun seized from Herbert McWhorter residence

168                              11/10       Photo of bandolier seized from Herbert McWhorter residence

169                              11/10       Photo of olive drab tactical vest with "Pork Eating Crusader" patch
                                             recovered from Herbert McWhorter residence

170                              11/10       Photo of tactical vest with shotgun shell bandolier and "Don’t
                                             Tread On Me" patch and "Ain't No Fun When The Rabbit Got The
                                             Gun" patch recovered from Herbert McWhorter residence

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173                               11/10       Black Baofeng Portable 2-way radio

174                               11/10       Bullet-proof body armor vest with flashlight

175                               11/10        M16 style platform rifle (standard barrel length), no serial number
                                              seized from Herbert McWhorter residence

176                               11/10       .223 caliber AR style platform rifle (short barrel), no serial number
                                              seized from Herbert McWhorter residence

177                               11/10        .223/5.56 AR style platform rifle (mini barrel) no serial number
                                              seized from Herbert McWhorter residence

178                               11/10       .223 / 5.56 caliber AR style platform rifle (medium barrel) no
                                              serial number seized from Herbert McWhorter residence

179
180
181                               11/12       White Rabbit Update YouTube video
                                              Deer Creek Products, 6989 E Michigan Road, Waldron,
                                              Indiana

182                               11/12       Photo of Deer Creek Products business

183                               11/12       Photo of Deer Creek ATF ledger

184                               11/12       Photo of GOEX black powder from Deer Creek Products

185                               11/12       Photos shown to James Christy by TFO Robbins in July 2018

186
                                              Forensic Witness Exhibits

187                               11/13       Call frequency analysis

188                               11/13       CAST analysis

189                               11/30       Photo of 63 pieces of shrapnel recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

190                               11/30       Photo of two pieces of shrapnel coated in black colored substance
                                              recovered from Dar Al-Farooq analyzed by FBI forensic scientists

191                               11/30       Photo of two pieces of shrapnel recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

192                               11/30       Photo of 65 pieces of shrapnel recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

193                               11/30       Photo of top view of end cap recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists


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194                               11/30       Photo of side view of end cap recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

195                               11/30       Photo of bottom view of end cap recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

196                               11/30       Photo of carpet sample recovered from Dar Al-Farooq analyzed by
                                              FBI forensic scientists

197                               11/30       Photo of melted plastic container recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

198                               11/30       Photo of melted plastic container recovered from Dar Al-Farooq
                                              analyzed by FBI forensic scientists

199                               12/01       Report of Defusco

200                               11/30       Report of Mothershead

201
202                               12/01       Summary chart regarding DNA evidence

203                               11/30       Summary chart for Defusco & Mothershead

204                               12/01       Lab photo of bandolier

205                               12/01       Lab photo of Item 2, .223 / 5.56 caliber AR style platform rifle
                                              (medium barrel) no serial number seized from Herbert McWhorter
                                              residence

206                               12/01       Lab photo of Item 3, .223 caliber AR style platform rifle (short
                                              barrel) no serial number seized from Herbert McWhorter residence

207                               12/01       Lab photo of Item 4, .223/5.56 AR style platform rifle (mini barrel)
                                              no serial number seized from Herbert McWhorter residence

208                               12/01       Lab photo of Item 5 M16 style platform rifle (standard barrel
                                              length) no serial number seized from Herbert McWhorter residence

209
210
211
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213
                                              Women's Health Practice, 2125 S. Neil St., Champaign, IL

214                               12/01       Photo of Women's Health Practice, Champaign, IL

215                               12/01       Photo of back window of Women's Health Practice, Champaign,
                                              IL.

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216                               12/01       Photo of broken window of Women's Health Practice, Champaign,
                                              IL

217                               11/30       Photo of pipe bomb inside of broken window at Women's Health
                                              Practice, Champaign, IL

218                               11/30       Close-up photo of bomb inside broken window at Women's Health
                                              Practice, Champaign, IL

219                               12/01       Close-up photo of damage to window of Women's Health Practice,
                                              Champaign IL

220                               12/01       Close-up photo of damage to window of Women's Health Practice,
                                              Champaign IL

221
222                               12/01       Photo of device found inside window at Women's Health Practice,
                                              Champaign, IL

223                               12/01       Photo of end cap of device found inside window Women's Health
                                              Practice, Champaign, IL

224                               12/01       Photo of items collected from Women's Health Practice,
                                              Champaign, IL

225                               12/01       Photo of container of red powder collected from Women's Health
                                              Practice, Champaign, IL

226                               12/01       Photo of red powder collected from Women's Health Practice,
                                              Champaign, IL

227                               12/01       Photo of blue vials containing powder collected from Women's
                                              Health Practice, Champaign, IL

228                               12/01       PVC pipe with tape collected from Women's Health Practice,
                                              Champaign, IL

229                               12/01       Magnesium strip collected from Women's Health Practice,
                                              Champaign, IL

230
231                               11/12       Photo of Hari, Morris and McWhorter in tactical gear with AR-15s
                                              and sledge hammer (recovered from Dell laptop)

232                               11/12       Photo of Linksys router used by Michael McWhorter

233                               11/12       Photo of MAC Address on Linksys router used by Michael
                                              McWhorter

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237
238
239
240
241                               12/02       Trail Camera photos from outside the Office 11/06/2017

242
243
244                               12/02       National Firearms Registration and Transfer Record Certification
                                              Business Records

245                               12/02       Green Dot Bank Records

246                               12/02       Amazon business records

247                               12/02       Military Uniform Supply Incorporated business records

248                               12/02       Tactical Gear business records

249                               12/02       80 Percent Arms Inc., business records

250                               12/02       Patches on Sale business records

251                               12/02       Enterprise Rent-A-Car business records for rental of Nissan
                                              Frontier and Dodge 2500

252                               12/08       Green Dot records Transaction Times & Locations for card ending
                                              in 3631

253
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257                               12/02       Palmetto State Armory business records

258                               12/02       Applied Ballistics business records

259                               12/02       Underground Printing business records

260                               12/02       FTF Industries business records

261                               12/02       eBay business records

262
263                               12/02       Walmart Green Dot records business records

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                                                                      DESCRIPTION OF EXHIBITS


264                               12/02       Earlyearlytobeck@yahoo.com records

265                               11/30       Enterprise Rent-A-Car records for Nissan Frontier

266
267                               12/02       First National Bank of Paxton for CRSS

268                               12/02       First National Bank of Paxton for Happy Valley Agriculture

269                               12/02       Summary chart of selected transactions by Michael Hari from
                                              business records

270
271
272
273
                                              Attribution documents for black Dell laptop computer seized
                                              from 112 North 1900 E Road, Paxton IL

274                               12/01       Screenshot of various user folders

275                               12/01       2014 Equicert Audit Manual

276                               12/01       aTFdetermination.docx

277                               12/01       CRSSWork/CRSSLetter.docx

278                               12/01       District6.pdf

279                               12/01       eberly.docx

280                               12/01       LancasterFarmFreshNarrative.docx

281                               12/01       LEMIZK.htm

282                               12/01       LFFVInvoiceFINAL.pdf

283                               12/01       Michael hari.docx

284                               12/01       PurchaseAgreement.docx

285                               12/01       Scanned Affidavit signed by Michael Hari, with attached
                                              documents, including Michael Hari passport (scan0059.pdf)

286                               12/01       FTF Industries invoice dated November 11, 2017 for M-16 trigger
                                              replacement parts kit (20008906000000031013.dat)

287                               12/01       November 11, 2017 email from FTF Industries to Michael Hari -
                                              Transaction Receipt (20008907000000031013.dat)



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                                                                      DESCRIPTION OF EXHIBITS


288                               12/01       November 11, 2017 email from 80 Percent Arms to Michael Hari –
                                              order confirmation for lower receiver
                                              (20008908000000031013.dat)

289                               12/01       November 27, 2017 email from Enterprise Rent-a-Car to Michael
                                              Hari (30009e03000000031013.dat)

290                               12/01       February 1, 2018 email from Michael Hari to
                                              techpapers@crane.com regarding printing White Rabbit money
                                              (30012c07000000031013.dat)

291                               12/01       November 14, 2017 email from 80 Percent Arms to Michael Hari –
                                              shipping confirmation for lower receiver
                                              (4000890d000000031013.dat)

292                               12/01       November 13, 2017 email from FTF Industries to Michael Hari –
                                              shipping notification (50008906000000031013.dat)

293                               12/01       January 15, 2018 email from Michael Hari in response to Craigslist
                                              ad regarding CRSS (“We have carpenters, locksmiths, cleaners,
                                              painters, and everyone has their own car. It’s a proven team with a
                                              great history.”) (80010400000000031013.dat)

294                               12/01       Screenshot of Favorites folder

295                               12/01       michaelhari_logo_22.jpg

296                               12/01       rabbit.jpg

297                               12/01       Stored usernames and passwords

298                               12/01       Registry Software Information

299                               12/01       User profile information from black Dell laptop seized from 112
                                              North 1900 E Road, Paxton IL

300                               12/01       Timeline of evidence located on black Dell laptop computer seized
                                              from 112 North 1900 E Road, Paxton IL

301                               12/01       talk.docx

302                               12/01       Internet artifacts

303                               12/01       Speech.docx

304                               12/01       Bulletproofme email

305                               12/01       Map collection

306                               12/01       Al-Farooq YouTube

307                               12/01       Signal Jammer email

308                               12/01       Photo1.png

309                               12/01       Patches-On-Sale email

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                                                                        DESCRIPTION OF EXHIBITS


310                               12/01       WhiteRabbit.doc

311                               12/01       smallphotouniformcrss.jpg

312                               12/01       FTF email

313                               12/01       tulsapolicetipinfo.docx

314                               12/01       photo1 (2).png

315                               12/01       Tactical Gear email 10/04/2017

316
                                              Additional Documents from the black Dell laptop seized from
                                              112 North 1900 E Road, Paxton IL

317                               12/01       DETENTIONRODER.docx

318
319                               11/30       Ponytailsurveillance.docx

320                               11/30       Screenshot of Spytec GPS Tracking (tracking.docx)

321
322
323
324
                                              Sonim cell phone exhibits taken from Buick LeSabre at 112
                                              North 1900 E Road, Paxton IL

325                               12/01       Cell phone picture IMG10159 plus test image from test device

326                               12/01       Photo1.png and IMG10159 comparison CART enhanced

327                               11/12       Handwritten note recovered from the dashboard of the Buick
                                              LeSabre at 112 North 1900 E. Road, Paxton, IL

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331                               12/08       Second CAST Analysis for July 15 and 16, 2017

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335
336
337                               12/01       Photos of 1671 Vandalia Street, St. Paul MN

338                               12/01       Google Map image of Planned Parenthood, 671 Vandalia St., St.
                                              Paul MN

339
340                               12/08       2017 and 2018 Calendars

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342




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